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                                          U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    May 6, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The Government respectfully submits this letter to supplement its letter of May 4, 2021

(Dkt. No. 269) regarding Requests 9 through 11 of the defendant’s requested subpoena to Boies

Schiller Flexner LLP.

       As noted in the Government’s letter, the Government has produced to the defense copies

of the photographs sought in Request 11. (Dkt. No. 269 at 8). The Government has now

determined that, for a subset of the photographs requested by the defendant, the Government

previously provided the defense with scanned images of this subset of photographs from the FBI

Florida file. The original photographs are currently in the FBI’s possession. Accordingly, because

some of the original photographs are currently in the Prosecution Team’s possession, the

Government will make them available to the defendant for inspection upon request. Request 11

is therefore moot as to those photographs.
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       As to the remaining photographs that are outside the Government’s possession, because

the defendant has copies of those photographs, the originals are not a proper subject of a Rule 17

subpoena. Accordingly, for the reasons set forth in the Government’s letter, Request 11 should

otherwise be denied.



                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   United States Attorney


                                             By:      s/
                                                   Maurene Comey / Alison Moe
                                                   Lara Pomerantz / Andrew Rohrbach
                                                   Assistant United States Attorneys
                                                   Southern District of New York

Cc: Defense Counsel (By ECF)
